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12   Lead Counsel for Plaintiffs
                                 UNITED STATES DISTRICT COURT
13                                     DISTRICT OF NEVADA
14                                                                                     Case No.: 3:20-cv-00243
         Stanley William Paher et al., Plaintiffs
15                                                                                     Plaintiffs’ First Motion to Extend
         v.                                                                            Time to Respond to Motions to
16                                                                                     Dismiss Amended Complaint
         Barbara Cegavske et al., Defendants
17                                                                                     (First Request)
18            This is Plaintiffs’ first motion to extend time to respond to all current motions to dismiss
19   ECF No. 64 (Amended Verified Complaint for Declaratory and Injunctive Relief), and Plaintiffs
20   seek an extension until July 3, 2020 to file oppositions to all dismissal motions. The filing due
21   dates for oppositions to the current dismissal motions are as follows (as listed on the docket):
22            Motions                                                            Filing Due Date for Oppositions (all 2020)
23   •        ECF No. 71 (Intervenor Defendants’ Motion to Dismiss Plaintiffs’
24            Amended Complaint). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . June 2
25   •        ECF No. 73 (Washoe County Registrar of Voters’ Joinder in Intervenor-
26            Defendants’ Motion to Dismiss Amended Complaint (ECF #71)) . . . . . . . . . . . . . . . . June 2
27   •        ECF No. 76 (Opposition of Defendant Joseph P. Gloria to Second Motion
28            for Preliminary Injunction and Joinder to Motion to Dismiss Filed by Defendants

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 1       [now moot] and Intervenor-Defendants) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . June 2
 2   •   ECF No. 77 (Nevada Secretary of State’s Consolidated Motion to Dismiss
 3       and Opposition to Plaintiffs’ Second Motion for Preliminary Injunction) . . . . . . . . . . June 3
 4   For the reasons set forth in the following Memorandum, Plaintiffs request that they be granted
 5   until July 3, 2020 to respond to the foregoing dismissal motions.
 6
 7   May 26, 2020                                                  Respectfully submitted,
 8                                                                 /s/ Amanda L. Narog
                                                                   Amanda L. Narog (Ind. bar #35118-84)*
 9                                                                 Lead Counsel for Plaintiffs
                                                                   *Appearing Pro Hac Vice
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                                                           IT IS SO ORDERED:
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18                                                         Hon. Miranda M. Du
                                                           Chief United States District Judge
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 1                             Memorandum of Points and Authorities
 2       In the Motion above, Plaintiffs seek until July 3, 2020 to file their oppositions the listed dis-
 3   missal motions. As stated in the docket, those oppositions are due on June 2 and 3. See Docket
 4   Nos. 71 and 77 (entries stating filing due dates).1
 5       Plaintiffs require the requested extension for at least four reasons. First, the dismissal mo-
 6   tions were filed on May 19 (ECF No. 71) and May 20 (ECF No. 77), as Plaintiffs were rushing to
 7   meet a May 21 deadline to reply in support of Plaintiffs’ Second Motion for Preliminary Injunc-
 8   tion (ECF No. 65) to multiple briefs in opposition (ECF Nos. 72, 74, 75, 77). So some of the
 9   time to prepare an opposition to dismissal motions was consumed with responding to preliminary
10   injunction oppositions.
11       Second, other pressing litigation has and will consume part of the time presently allowed for
12   opposing the dismissal motions. For example, attorneys Bopp and Coleson (who will be drafting
13   the dismissal oppositions at issue and drafted the preliminary injunction briefing recited above)
14   had a preliminary-injunction opposition due Friday, May 22 in Curtin v. Virginia State Board of
15   Elections, No. 1:20-cv-00546 (E.D. Va. compl. filed May 13, 2020). In that same case, a hearing
16   is set for May 27, 2020 on that preliminary injunction hearing, the preparation for which likewise
17   has precluded work on the present case. In addition, attorneys Bopp and Coleson have appellate
18   briefs in reply to five appellate briefs that are due June 2 in Indiana Family Institute v. City of
19   Carmel, No. 19A-MI-2991 (Ind. Ct. Appeals). Attorneys Corrine L. Youngs and Amanda L.
20   Narog have an appellate brief in reply due May 29 in The Bopp Law Firm v. Schock for Con-
21   gress, No. 19A-CC-02421 (Ind. Ct. Appeals). Attorneys Bopp and Narog have an appellate brief
22   in response due June 1 in Dimondstein v. Stidman, No. 19-7161 (D.C.C.). Attorneys Bopp and
23   Coleson are also preparing to file other cases in relation to elections happening in the near future
24   and in November. The current press of these other cases requires that Plaintiffs have the re-
25       1
           The Washoe County Registrar joined Intervenor-Defendants’ dismissal motion, ECF No.
26   73), so opposition to that joinder is due the same date as the opposition to Intervernor-Defen-
     dants’ dismissal motion..
27
          The Clark County Registrar joined a mooted Defendants’ dismissal motion (ECF No. 62)
28   and Intervenor-Defendants dismissal motion, ECF No. 75, so opposition to that joinder is due the
     same date as the opposition to Intervenor-Defendants’ dismissal motion.

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 1   quested extension so their counsel has an opportunity to do their briefing justice and assist this
 2   Court with their best arguments.
 3       Third, Defendants have filed two dismissal motions that incorporate further briefing so that
 4   additional time is needed for Plaintiffs’ counsel to consider and respond to a great deal of argu-
 5   mentation. Intervenor-Defendants’ dismissal brief is fifteen pages and references other briefing.
 6   ECF No. 71. The Secretary of State’s dismissal brief is ten pages and incorporates by reference
 7   other briefing. ECF No. 77 at 3 n.1, 7 n.2. This volume of opposition briefing requires more time
 8   for Plaintiffs’ counsel to prepare appropriate opposition briefing than is currently allowed.
 9       Fourth, dismissal motions are of course dispositive. It is one thing to deny a preliminary in-
10   junction, quite another to dismiss a whole case with prejudice as requested. Given this circum-
11   stance Plaintiffs’ counsel should be given the adequate time they require and request to prepare
12   fully developed arguments in defense of their case.
13                                              Conclusion
14       For the reasons shown, Plaintiffs request that they be given the requested extension until
15   July 3 to file oppositions to the current dismissal motions.
16   May 26, 2020                                         Respectfully submitted,
17   David O’Mara (Nev. bar #8599)                        /s/ Amanda L. Narog
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                                  IT IS SO ORDERED:
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                                  Hon. Miranda M. Du
 6                                Chief United States District Judge
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 1                                        Certificate of Service
 2       I hereby certify on May 26, 2020, I served a true and correct copy of the foregoing on the
 3   following parties via this Court’s CM/ECF electronic filing system to the addresses listed below.
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